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          EXHIBIT D
                                           Case 8:17-cv-00911-PJM Document 1-4 Filed 04/04/17 Page 2 of 2
E QUI FA X
CREDIT FILE : April 14, 2016
Confirmation # 6090054417




                                                                                                                                            Bowie, MD 20715−4603
                                                                                                                                            7925 Orchard Park Way
                                                                                                                                            Alan C Martin
                                                                                                                                            002208838−8408




                                                                                                                                                                          Atlanta, GA 30348
                                                                                                                                                                          P. O. Box 105518
Dear Alan C Martin:
Below are the results of your reinvestigation request and, as applicable, any revisions to your credit file. If you have
additional questions regarding the reinvestigated items, please contact the source of that information directly. You
may also contact Equifax regarding the specific information contained within this letter or report within the next 60 days
by visiting us at www.investigate.equifax.com or by calling a Customer Representative at (888) 425−7961 from 9:00am
to 5:00pm Monday−Friday in your time zone.
For an added convenience, use one of the below options to start an investigation or check the status of your dispute.
Please note, when you provide documents, including a letter, to Equifax as part of your dispute, the documents may be
submitted to one or more companies whose information are the subject of your dispute.
Visit us at www.equifax.com/CreditReportAssistance or Call us at 866−349−5186.
Thank you for giving Equifax the opportunity to serve you.
The Results Of Our Reinvestigation
Collection Agency Information        (This section includes accounts that have been placed for collection with a collection agency.)

>>> We have researched the collection account. Account # − 193879 The results are: We verified that this item
belongs to you. If you have additional questions about this item please contact: Financial Management Solut, 6303
Ivy Ln Ste 310, Greenbelt MD 20770−6319 Phone: (301) 220−1849
Financial Management Solutions; Collection Reported 04/2016; Assigned 10/2014; Creditor Class − Medical/Health Care; Client − Secure Medical Care; Amount − $220 ; Status as of
04/2016 − Unpaid; Date of 1st Delinquency 04/2014; Balance as of 04/2016 − $297 ; Individual Account; Account # − 193879; ADDITIONAL INFORMATION − Consumer Disputes This
Account Information; Collection Account; Address: 6303 Ivy Ln Ste 310 Greenbelt MD 20770−6319 : (301) 220−1849




Notice to Consumers
You may request a description of the procedure used to determine the accuracy and completeness of the information, including the business name and address of the
furnisher of information contacted, and if reasonably available the telephone number.
If the reinvestigation does not resolve your dispute, you have the right to add a statement to your credit file disputing the accuracy or completeness of the information;
the statement should be brief and may be limited to not more than one hundred words (two hundred words for Maine residents) explaining the nature of your dispute.
If the reinvestigation results in the deletion of disputed information, or you submit a statement in accordance with the preceding paragraph, you have the right to
request that we send your revised credit file to any company specifically designated by you that received your credit report in the past six months (twelve months for
California, Colorado, Maryland, New Jersey and New York residents) for any purpose or in the past two years for employment purposes.


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